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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      December 12, 2018
                           UNITED STATES DISTRICT COURT
                                                                                       David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

UNITED STATES OF AMERICA,         §
                                  §
VS.                               § CIVIL ACTION NO. 7:18-CV-307
                                  §
5.06 ACRES OF LAND, MORE OR LESS, §
et al,                            §
                                  §
       Defendants.                §

ORDER GRANTING PLAINTIFF’S MOTION FOR IMMEDIATE POSSESSION

       On October 2, 2018, Plaintiff filed a motion for the delivery of possession along with a

Complaint and Declaration of Taking with this Court in the above-referenced action. (Dkt. No.

8). Plaintiff seeks the surrender from Defendant of the estate defined as: a temporary, assignable

easement beginning on the date this Court grants possession to the Plaintiff and will end on

October 23, 2019. The easement claimed consists of the right of the United States, its agents,

contractors and assigns to enter in, on, over and across certain tracts of land described with more

certainty in Schedules C and D of the Declaration of Taking. (Dkt. No. 2).

       The easement sought gives the United States the right to survey, make borings, and

conduct other investigations on the tracts of land described in the aforementioned Schedules for

the public purpose of conducting surveys, tests, and other investigatory work needed to plan the

proposed construction of roads, fencing, vehicles barriers, security lighting, and related

structures designed to help secure the United States/Mexico border within the State of Texas. As

part of the easement, the United States has acquired the right to trim and remove any vegetative

or structural obstacles on the properties that interfere with the aforementioned purpose and work.

       The easement claimed reserves to the landowner(s), their successors and assigns all


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rights, title and privileges as may be used and enjoyed without interfering with or abridging the

rights hereby acquired by the United States, subject to minerals and rights appurtenant and to

existing easements for public roads and highways, public utilities, railroads and pipelines.

       Now, having considered United States’ motion for possession, this Court finds the

following support for Plaintiff’s motion:

       On October 2, 2018, Plaintiff filed a proper complaint in the above-referenced action for

the above-referenced action for the condemnation (taking) of the defendant’s property for

temporary easements and declaration of taking of those properties in accordance with 40 U.S.C.

§ 3114. On October 23, 2018, Plaintiff deposited into the Registry of this Court the sum of

$100.00 as the estimated just compensation for the taking the easement across defendant’s

property.

       This Court, therefore, ORDERS that all defendants to the above-referenced action and all

persons who own or claim ownership, possession and/or control of the property described in the

aforementioned Schedules must allow the United States access to the property subject to the

following terms:

       The United States is hereby GRANTED the right to survey, make borings, and conduct

other related investigations on the tract of land described in the aforementioned Schedules for the

public purpose of conducting surveys, tests, and other investigatory work needed to plan the

proposed construction of roads, fencing, vehicles barriers, security lighting, and related

structures designed to help secure the United States/Mexico border within the State of Texas.

Additionally, the United States is GRANTED the right to trim or remove any vegetative or

structural obstacles on the property that interfere with the aforementioned purpose and work. The

easement acquired by the United States will begin immediately and will end on October 23,


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2019. To the extent possible, the United States shall use contractors that have appropriate

liability insurance. Any questions concerning just compensation for damages, if any, incurred by

a defendant that have not been resolved will be addressed by this Court at a later date if and

when raised by that defendant.

       It is further ORDERED that a copy of this order shall be served by the United States

upon all owners, all parties claiming ownership, and all persons in possession or control of the

properties to the extent these are known.

       SO ORDERED this 12th day of December, 2018, at McAllen, Texas.


                                                ___________________________________
                                                Randy Crane
                                                United States District Judge




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